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 DISTRICT COURT, COUNTY OF DOUGLAS,
 STATE OF COLORADO
 4000 Justice Way                                      DATE FILED: December 17, 2020 12:44 PM
 Castle Rock, Colorado 80109                           FILING ID: 6533965C13695
                                                       CASE NUMBER: 2020CV30964


 PLAINTIFF: ALLEN RICHARD
 TREADWELL

 v.

 DEFENDANT: LOWE’S HOME CENTERS,
 LLC
                                                              COURT USE ONLY
 Attorneys for Plaintiff:
 Daniel J. Caplis, #13171                             Case Number:
 Michael P. Kane, #34878
 Amy Ferrin, #39310                                   Courtroom:
 THE DAN CAPLIS LAW FIRM, LLC
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                              COMPLAINT AND JURY DEMAND



The Plaintiff, Allen Richard Treadwell, by and through his attorneys, The Dan Caplis Law Firm,
LLC, hereby file this Complaint and Jury Demand, and state as follows:
                           PARTIES, JURISDICTION, AND VENUE

      1. Plaintiff A. Richard Treadwell (“Plaintiff”) is now, and has been at all times relevant
         hereto, a resident of the State of Colorado.

      2. Defendant Lowe’s Home Centers, LLC (“Defendant Lowe’s”) is a foreign limited liability
         company doing business in Colorado, with a registered agent at 1900 W. Littleton
         Boulevard, Colorado 80120.

      3. Jurisdiction and venue are proper in the District Court of Douglas County in the State of
         Colorado because the acts giving rise to this action occurred in Douglas County.
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                                 GENERAL ALLEGATIONS

  4. In February 2020, Defendant Lowe’s owned or leased the building at 1360 New Beale
     Street, Castle Rock, Colorado.

  5. Defendant operated Lowe’s store #2274 at that location.

  6. On February 24, 2020, Plaintiff visited the Lowe’s store at approximately 9:00 a.m.

  7. The Lowe’s store opened at 6:00 a.m.

  8. The Lowe’s store was open to the public beginning at 6:00 a.m.

  9. Plaintiff drove his Ford Explorer to the Lowe’s store.

  10. Plaintiff parked his Explorer in one of the covered parking spots near the “Indoor Lumber
      Yard.”

  11. It snowed in Castle Rock on February 23, 2020.

  12. There was snow and ice piled in an area to the left of the parking spots where Plaintiff
      parked his Explorer.

  13. However, there was no snow in the covered parking spot where Plaintiff parked.

  14. Plaintiff attempted to get out of his Explorer, left foot first.

  15. As soon as he put weight on his left foot, he slipped and fell.

  16. During the fall, he hit his head on the running board of his Explorer.

  17. After Plaintiff fell, he saw there was ice covering the area where he had fallen.

  18. An eyewitness attempted to help Plaintiff.

  19. The eyewitness went inside to alert Defendant Lowe’s employees that Plaintiff had fallen
      and was hurt.

  20. Due to the injuries to his left leg, Plaintiff was unable to stand or walk.

  21. He pulled himself up into the driver seat of his Explorer.

  22. Plaintiff drove himself to the hospital.

  23. The ice on the parking spot where Plaintiff fell was a dangerous condition.
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  24. Upon information and belief, Defendant Lowe’s had actual notice of the dangerous
      condition.

  25. Defendant Lowe’s should have known of the dangerous condition.

  26. Defendant Lowe’s was responsible for removing or mitigating the ice in the covered
      parking area in order to prevent people such as Plaintiff from falling on the premises.

  27. Defendant Lowe’s failed to reasonably remove, mitigate, or warn of the ice in the covered
      parking area on February 24, 2020.

  28. At all relevant times, Plaintiff was an invitee on the premises.

  29. As a result of the fall, Plaintiff suffered serious and permanent injuries.

  30. As a result of the fall, Plaintiff suffered injuries and damages.

                                FIRST CLAIM FOR RELIEF
                           Premises Liability against Defendant Lowe’s

  31. Plaintiff incorporates all other paragraphs as though fully set forth herein.

  32. At all times material hereto, Defendant Lowe’s was a landowner, as defined by
      C.R.S. § 13-21-115, of the premises located at 1360 New Beale Street, Castle Rock,
      Colorado.

  33. On December 1, 2018, Defendant Lowe’s was responsible for the condition of the property
      and/or the circumstances existing on the property located at 1360 New Beale Street, Castle
      Rock, Colorado.

  34. Defendant Lowe’s had a duty to Plaintiff to be aware of conditions and circumstances that
      existed on the property on February 24, 2020.

  35. Defendant Lowe’s had a duty to maintain the premises in a reasonably safe condition.

  36. The ice in the covered parking area constituted a dangerous condition.

  37. Defendant Lowe’s knew or should have known of the dangerous condition.

  38. Defendant Lowe’s had a duty to Plaintiff to take reasonable action to ensure removal of,
      mitigation of, or to properly warn of that dangerous condition.

  39. Defendant Lowe’s breached that duty by failing to take steps to remove of, mitigate, or to
      warn of the dangerous condition.
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   40. At the time Plaintiff was injured, he had the status of invitee as defined by C.R.S. §13-21-
       115(5)(a).

   41. As a direct and proximate cause of the breach of the duty of care by Defendant Lowe’s,
       Plaintiff slipped and fell.

   42. As a direct and proximate cause of the breach of the duty of care by Defendant Lowe’s,
       Plaintiff suffered injuries and damages in an amount to be proven at trial.

   43. Plaintiff was not comparatively negligent.


       WHEREFORE, Plaintiff, prays for judgment against Defendant Lowe’s for past and
future economic, non-economic, physical disfigurement, and physical impairment damages,
including, but not limited to: past and future medical expenses; past and future loss of earnings;
reduced earning capacity; past and future physical and mental pain and suffering, inconvenience,
emotional stress, and loss of enjoyment of life. Plaintiff seeks interest, costs, fees as permitted by
law, and any further relief the Court deems just.

                        PLAINTIFF REQUESTS A TRIAL BY JURY

Respectfully submitted the 17th day of December, 2020.


                                               THE DAN CAPLIS LAW FIRM, LLC

                                               /s/ Amy Ferrin
                                               Daniel J. Caplis, #13171
                                               Michael P. Kane, #34878
                                               Amy Ferrin, #39310
                                               Attorneys for Plaintiff
                                               This document was filed electronically pursuant to Rule 121 § 1-26(7).
                                               The original signed document is on file in counsel’s office.



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